          Case 2:19-cr-00877-CCC Document 10-1 Filed 12/23/19 Page 1 of 1 PageID: 75

                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA

 Case No.: 19-5256M                                                                    Date: 12/19/2019
 Title: U.S.A. v. Jose h Frank Abel
 Present: The Honorable Frederick F. Mum                                              ,D District Judge / 6~Magistrate Judge

               J. Munoz                                      Alex Wyman                                       CS 12/19/]9
              Deputy Clerk                              Assistant U.S. Attorney                        Court Reporter /Tape No.

                         Humberto Diaz                                                           N/A
                    Courrse!for Defendant                                                       Interpreter
     [~Retd.                 ❑ DFPD                O Panel

                                    PROCEEDINGS: BAIL REVIEW HEARING
 Hearing on modification of bail had and Court orders bail as to the above-named defendant modified to:
 O Personal Recognizance (Signature only - no $amount)                   ❑ Collateral Bond in amount of$
 ❑ Unsecured Appearance Bond in amount of$                                 (Cash or negotiable securities)
 ❑ Appeazance Bond in amount of$                                         ❑ Corporate Surety Bond in amount of$
   ❑ With cash deposit(amount or %)                                        (Corporate Surety Bond requires separateform)
   ❑ With affidavit ofsurety (nojustification -Form CR-4)                ❑ Surety to be
   ❑ With justification affidavit of surety (Form CR-3)                  ❑ Release NOW and justify by
   O With deeding of property                                              or appear before Magistrate Judge
 ❑ PSA supervision              ❑Intensive                                 on                   at             ❑AM /O PM

     THE FOLLOWING ADDITIONAL CONDITIONS OF BAIL HAVE BEEN IMPOSED BY THE COURT
❑ Defendant is to surrender to the Clerk of Court any passport issued in his/her name and not apply for the issuance of a
    passport during the pendency ofthis case.
❑ Bail is subject to a Nebbia Hearing.
❑ Travel restricted to Central District/California; other
O Defendant to reside with
❑ Defendant is not to use or possess illegal drugs.
O Defendant is not to use or possess firearms.
❑ ~ Defendant is to cooperate with Pretrial Services in a drug treatment and testing program.
D Defendant is to participate in a residential drug/alcohol treatment program as approved by Pretrial Services.
❑ Defendant is not to commit any federal, state or local crimes.
❑ Defendant is to avoid places of egress, i.e., airports, bus terminals, seaports, etc.
O Other conditions:

❑ Date Bond Posted:                                                     ❑Release ordered. No.

                                      FURTHER ORDER OF THE COURT
G~ Motion for bail is DENIED.
❑ Case continued to                             at         ❑ AM / D PM for
   Other: Defendant held to answer District of New Jersey.


cc: Defense Attorney
    Assistant U.S. Attorney
    O USPO
    ❑ PSAlr1. ❑ PSASA. ❑ PSAED                                                                                              ZO
                                                                                             BY:                                  _

M-18(08/08)                                 MINiITES - BA1L MODIFICATION HEARING
